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                                                                                             PERSONNEL ACTION FORM (PAF)
                                                                                                                                  (Salary, Status Changes)

  Last Name: -               .\                                   First Name:                                      ss #:
                      l~e/L                                   I        \-4- M 1()~'1._
  Company Code: □                        I Home Dept.#                     I File#:                                Date of Hire:


  ACTION TO BE TAKEN : Complete section (s) that apply to action being taken.
                                                                                                                   Date Submitted:3 ~        /~I/
                                                                                                                   Date Effective: ~c:9Gj'(a4
  0 Transfer                             0 Title Change                      0 Name Change                                 0 Request LOA /FMLA
  0 Promotion                                     sociate Class Change       0 Address Change                              0 Place on LOA / FMLA
  0 Rate Change                          ~        rmination                  0 Other:                                      0 Return from LOA /FMLA
  PERSONNEL CHANGES (i.e. Transfer, Promotion, Rate Change, Title Change & Re-Classification)
                CURRENT INFORMATION (From)                                                    NEW/CHANGE INFORMATION (To)
  D Full Time D Part Time D Seasonal D Temporary                           D Full Time D Part Time D Seasonal D Temporary
  Home Dept.#                                  OAS9 0 6&J                  Home Dept.#                                            OAS9 O6&J
  Position Title:                                                          Position Title:

  Job Code:                          Pay Grade:                            Job Code:                                 Pay Grade:

  D Non-Exempt (Hourly)              Annual:                               D Non-Exempt (Hourly)                     Annual:
  D Exempt (Salaried)                                                      D Exemot (Salaried)
  Hourly Rate:                       Bi-weekly:                            Hourly Rate:                              Bi-weekly:

  Reports to:                                                              Reports to:

  SEPARATIONS: Complete all items. Provide details of what incident(s) led to Separation-attach documentation/resignation letter.
                                                                                                                                                        /


  Term Code :                     I Last Day Worked ~~}!Q /,()1..{         Notice Given : ~esONo                    I Eligible for re-hire? □Yes ~ o
  For Involuntary Separation : HR Rep contacted:                                                          Date :

  Date (s) of Previous Corrective Actions:
  Circumstances of separation/comments :


  State requirements/final pay - Contacted Payroll? D Yes D No O N/A                     Associate file sent to HR/attached ?        D Yes O No
  Contacted Union Representative (if applicable ) 0 Yes O No O NIA                    I DFA Property Collected (if applicable ) D Yes O No
  *NAME/ADDRESS CHANGE
            "Name chanoes must have attached documentation /i.e. marriage divorce, SS card with new name or other court documentation)
  Enter New Name :
  New Street Address:
  City, State & Zip
  Phone#:                                    Primary:                                 I Cell #:   (Op1iono1)

  Associate Signature (Required)

  ADD: TIOG         O   I/~NTS:
                                                                       APPROVALS
  Dep l   \     .~ : ~      .J 1 l J/J
                                                              I Next Level As Needed :                     I Human Resources:
                                  SECTION BELOW TO BE COMPLETED BY CORPORATE HUMAN REsOURCES/PAYROLL
  HR: Term Code:                       Intranet Updated:                      I Payroll : Processed by:                               Week#

          Rev: 8/06




                                                                                                                                                             HK_071874
                                                                  EXHIBIT 14
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                                                                                              PERSONNEL ACTION FORM (PAF)
                                                                                                                                 (Salary, Status Changes)

Last Name:
                                Webb
                                                                I First Name:                Shawna
                                                                                                                 SS#:

Company Code: □                          I Home Dept. #                   I File#:                               Date of Hire:

                                                                                                                 Date Submitted:
ACTION TO BE TAKEN: Complete section (s) that apply to action being taken.
                                                                                                                 Date Effective:
D Transfer                               D Title Change                      D Name Change                              □ Request LOA /FMLA
D Promotion                              D Associate Class Change            D Address Change                           □ Place on LOA/ FMLA
D Rate Change                            Ix:] Termination                    D Other:                                   □ Return from LOA /FMLA

PERSONNEL CHANGES (i.e. Transfer, Promotion, Rate Change, Title Change & Re-Classification)
                 CURRENT INFORMATION (From)                                                   NEW/CHANGE INFORMATION (To)
IXI Full Time     □ Part Time    □ Seasonal      □ Temporary               □ Full Time       □ Part Time       □ Seasonal    □ Temporary

Home Dept.#                                    OAS9 □ 6&J                  Home Dept.#                                          OAS9 O6&J
Position Title:      Marketing Assistant                                   Position Title:

Job Code:                           Pay Grade:                             Job Code:                               Pay Grade:

□ Non-Exempt (Hourly)               Annual:                                □ Non-Exempt (Hourly)                   Annual:
□ Exempt (Salaried)                                                        □ Exempt (Salaried)

Hourly Rate:      18.50             Bi-weekly:    Bi-Weekly                Hourly Rate:                            Bi-weekly:

Reports to:                                                                Reports to:

SEPARATIONS: Complete all items. Provide details of what incident(s) led to Separation-attach documentation/resignation letter.

Term Code:                       I Last Day Worked: 412112 02 3            Notice Given: []Yes D No                I Eligible for re-hire? □Yes [xi No
For Involuntary Separation:             HR Rep contacted:            Klei Petri                        Date:     4/21/2023

                                      Shawna was Qlaced on 2 weeks 12aid leave on 2/20/2023 for her actions on social
Date (s) of Previous Corrective Actions:
Circumstances of separation/comments: media. She made a post in Kandy Girls complaining about her compensation and
                                               she cyber bullied our customers on the Head Kandy FB page

State requirements/final pay - Contacted Payroll? D Yes D No D N/A                     Associate file sent to HR/attached ?         □ Yes □ No
Contacted Union Representative (if applicable) □ Yes □ No □ N/A                        DFA Property Collected (if applicable) D Yes □ No
*NAME/ADDRESS CHANGE
                *Name changes must have attached documentation (i.e. marriage, divorce, SS card with new name, or other court documentation)
Enter New Name:
New Street Address:
City, State & Zip
Phone#:                                     Primary:                                   Cell #: (Optional)
Associate Signature (Required)
ADDITIONAL COMMENTS:

                                                                       APPROVALS
Department Manager:              ,~/      1/                    I Next Level As Needed:                 I Human Resources:
                                 t&P.ttv
                                -SECTION BELOW TO BE COMPLETED BY CORPORATE HUMAN RESOURCES/PAYROLL

HR: Term Code:                         Intranet Updated:                      I Payroll: Processed by:                               Week#

                                                                                                                                                 HK_069455
        Rev: 8/06
